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 6
   Attorneys for Plaintiff
 7 UNITED STATES OF AMERICA

 8                             UNITED STATES DISTRICT COURT

 9                            SOUTHERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                   Case No. 22mj08696-DDL

11                            Plaintiff,         STIPULATION OF FACT AND
                                                 JOINT MOTION FOR RELEASE
12        v.                                     OF MATERIAL WITNESS(ES)
                                                 AND ORDER THEREON
13   JULIO EMANUEL ARA-REVOLORIO,
                                                 (Pre-Indictment
14                            Defendant.           Fast-Track Program)

15

16       IT IS HEREBY STIPULATED AND AGREED between plaintiff, UNITED STATES
17 OF AMERICA, by and through its counsel, Randy S. Grossman, United States

18 Attorney, and Badih A. Mouannes, Assistant United States Attorney, and
19 defendant JULIO EMANUEL ARA-REVOLORIO, by and through and with the advice

20 and consent of defense counsel, David S. Wilson and Ralph Cordova, that:

21       1.     Defendant agrees to execute this stipulation on or before the
22 first arraignment date and to participate in a full and complete inquiry

23 by   the    Court   into    whether   defendant   knowingly,   intelligently,   and
24 voluntarily entered into it.

25       2.     The material witnesses, Mipsam Jose Axel Rivera-Perez, and
26 Jose Vara-Reza, in this case:

27              a.     Are aliens with no lawful right to enter or remain in the
                       United States;
28

     BAM:kot:10/18/2022
 1            b.    Entered or attempted to enter the United States illegally
                    on or about October 2, 2022;
 2
              c.    Were to be transported by a vehicle and, as to Mipsam
 3                  Jose Axel Rivera-Perez, driven by defendant JULIO EMANUEL
                    ARA-REVOLORIO, near El Centro.
 4
              d.    Were paying or having others pay on their behalf an amount
 5                  between approximately $9,200 and $10,500 to be brought
                    into the United States illegally and/or transported or
 6                  moved illegally to their destination(s) therein; and,

 7            e.    May be released and remanded            immediately to the
                    Department of Homeland Security        for return to their
 8                  country(ies) of origin.

 9       3.   The vehicle driven by defendant in this case was seized as

10 evidence and is held by the Department of Homeland Security.

11       4.   After the court has ordered the material witnesses released,

12 pursuant to this stipulation and joint motion, if defendant does not

13 plead guilty to a violation of 8 U.S.C. § 1324, for any reason, or

14 thereafter withdraws his guilty plea to that charge, defendant agrees

15 that in any proceeding, including, but not limited to, motion hearings,

16 trial, sentencing, appeal, or collateral attack, that:

17            a.    The stipulated facts set forth in paragraph 2 above shall
                    be admitted as substantive evidence;
18
              b.    The United States may elicit hearsay testimony from
19                  arresting agents regarding any statements made by the
                    material witness(es) provided in discovery, and such
20                  testimony shall be admitted as substantive evidence under
                    Fed. R. Evid. 804(b)(3) as statements against interest
21                  of (an) unavailable witness(es);

22            c.    Understanding that under Crawford v. Washington, 541 U.S.
                    36 (2004), “testimonial” hearsay statements are not
23                  admissible   against   a   defendant   unless   defendant
                    confronted and cross-examined the witness(es) who made
24                  the “testimonial” hearsay statements, defendant waives
                    the right to confront and cross-examine the material
25                  witness(es) in this case.

26
         5.   By   signing   this   stipulation   and   joint   motion,   defendant
27
     certifies that defendant has read it (or that it has been read to
28
 1 defendant in defendant's native language).       Defendant certifies further

 2 that defendant has discussed the terms of this stipulation and joint

 3 motion with defense counsel and fully understands its meaning and effect.

 4         Based on the foregoing, the parties jointly move the stipulation

 5 into evidence and for the immediate release and remand of the above-

 6 named material witness(es) to the Department of Homeland Security for

 7 return to their country of origin.

 8         It is STIPULATED AND AGREED this date.

 9                                       Respectfully submitted,

10                                       RANDY S. GROSSMAN
                                         United States Attorney
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12      10/18/22
     DATED                               BADIH A. MOUANNES
13                                       Assistant U.S. Attorney

14
     10/26/2022
15 DATED                                 DAVID S. WILSON
                                         RALPH CORDOVA
16                                       Defense Counsel
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18 DATED                                 JULIO EMANUEL ARA-REVOLORIO
                                         Defendant
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 1                                O R D E R

 2      Upon joint application and motion of the parties, and for good

 3 cause shown,

 4      THE STIPULATION is admitted into evidence; and

 5      IT IS ORDERED that the above-named material witness(es) be released

 6 and remanded forthwith to the Department of Homeland Security for return

 7 to their country of origin.

 8      SO ORDERED.

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10 DATED                              United States Magistrate Judge

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